
In re Novoa, Juan R.; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of St. Tammany, 22nd Judicial District Court Div. J, No. 405394; to the Court of Appeal, First Circuit, No. 2014 KW 0588.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; cf. La.C.Cr.P. art. 930.4(E).
